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                       No. 3:18-CV-00171-CWR-FKB

      JACKSON WOMEN’S HEALTH ORGANIZATION,
      On Behalf of Itself and its Patients, et al.
                                                            Plaintiffs,

                                      v.

      MARY CURRIER,
      State Health Officer,
      Mississippi Department of Health, et al.
                                                          Defendants.
                           ____________________

                            ORDER ON DISCOVERY
                           ____________________

         Before CARLTON W. REEVES, District Judge.
      This lawsuit challenges many of Mississippi’s abortion laws.
      Last month, the Court split the suit into two phases.1 The first
      deals with the challenge to H.B. 1510, Mississippi’s 15-week
      abortion ban, while the second will deal with all other chal-
      lenges.
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      Plaintiffs have moved to limit discovery (the process of un-
      covering evidence) in the lawsuit’s first phase. Plaintiffs say
      that the litigants should only seek evidence about whether vi-
      ability occurs before or after 15 weeks.2 Viability, according to
      the Supreme Court, is the time when “there is a reasonable
      likelihood of the fetus' sustained survival outside the womb,
      with or without artificial support.”3
      In the Fifth Circuit, “the scope of discovery . . . is limited only
      by relevance and burdensomeness[.]”4 The Federal Rules of
      Evidence say that evidence is “relevant” if it alters the likeli-
      hood a fact is true, and that fact is “of consequence in deter-
      mining the action.”5The question, then, is what evidence is of
      consequence in deciding whether H.B. 1510 is lawful.
      The answer lies within the Constitution, which gives every
      woman a constitutional right to “personal privacy” over her
      body.6 The Supreme Court says that right protects each
      woman’s choice “to have an abortion before viability.”7 “Be-
      fore viability,” a government cannot “support a prohibition
      of abortion or the imposition of a substantial obstacle to the
      woman’s effective right to elect the procedure.”8 “[A]fter fetal
      viability,” however, the government has the “power to re-
      strict abortions.”9 As the Fifth Circuit has said, the “basic right
      to choose an abortion” that this viability framework protects
      is “settled constitutional law.”10
      H.B. 1510 is effectively a ban on all elective abortions after 15
      weeks.11 Given the Supreme Court’s viability framework, that
      ban’s lawfulness hinges on a single question: whether the 15-
      week mark is before or after viability. As the Eighth Circuit
      has said, when “viability presents the central issue in [a]
      case,” an “order limiting discovery to the issue of viability” is



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      permissible.12 Evidence about any other issue – like whether
      Mississippi has any interests that could outweigh a woman’s
      right to control her body and destiny – is irrelevant.
      The Court will conclude with the obvious: Defendants’ re-
      quest for expanded discovery is not about defending H.B.
      1510 within the viability framework. The evidence Defend-
      ants seek, about things like pre-viability “fetal pain,”13 aims to
      persuade courts to reject the framework itself.14 If the Su-
      preme Court feels open to such persuasion, it will indicate as
      much. To date, it has not done so, and has instead spent dec-
      ades affirming the viability framework.15 This Court must re-
      main within that framework, and limit discovery accordingly.
      Plaintiffs’ motion to limit discovery is GRANTED. Their pro-
      posed discovery schedule, as it applies to this lawsuit’s first
      phase, is ADOPTED.
      SO ORDERED, this the 15th day of May, 2018.
                                                       s/ CARLTON W. REEVES
                                                    United States District Judge

      1 Order Separating Claims & Extending TRO, Docket No. 25.
      2 Motion to Adopt Plaintiffs’ Proposed Schedule and Limit Discovery, Docket
      No. 16; see also Reply in Support of Motion to Adopt Plaintiffs’ Proposed
      Schedule and Limit Discovery, Docket No. 38.
      3 Colautti v. Franklin, 439 U.S. 379, 388 (1979).

      4 Trevino v. Celanese Corp., 701 F.2d 397, 406 (5th Cir. 1983); see also Duty to

      Disclose; General Provisions Governing Discovery, Fed. R. Civ. P. 26.
      5 Test for Relevant Evidence, Fed. R. Evid. 401.

      6 Roe v. Wade, 410 U.S. 113, 152-53 (1973).

      7 Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833, 846 (1992).

      8 Id.

      9 Id.

      10 Jackson Women's Health Org. v. Currier, 760 F.3d 448, 453 (5th Cir. 2014).




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      11 H.B. 1510 includes, as all abortion restrictions must, an exception for
      abortions stemming from medical emergencies. See Stenberg v. Carhart,
      530 U.S. 914, 921 (2000). It also permits abortions to remove matter that is
      “incompatible with life outside the womb.”
      12 MKB Mgmt. Corp. v. Stenehjem, 795 F.3d 768, 773 n. 4 (8th Cir. 2015); ac-

      cord Isaacson v. Horne, 716 F.3d 1213, 1229 (9th Cir. 2013).
      13 See Memorandum in Support of Response in Opposition to Plaintiffs’

      Motion to Limit Discovery, Docket No. 34; see also H.B. 1510(2)(b) (listing
      legislative findings regarding fetal development, medical practice, and
      maternal health in the pre-viability period).
      14 See Jessie Hellman, Anti-Abortion Lawmakers Lay Groundwork for Roe

      Challenge, The Hill, Mar. 28, 2018; Marie Solis, Republicans Test Roe v.
      Wade in Mississippi with Country's Strictest Abortion Ban, Newsweek,
      Mar. 9, 2018; Mississippi on Brink of Approving Measure to Ban Most Abor-
      tions After 15 Weeks, Associated Press, Mar. 8, 2018.
      15 See Currier, 760 F.3d at 453 (collecting cases).




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